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             United States Court of Appeals
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued February 10, 2022            Decided February 3, 2023

                                    No. 21-5057

                                    PAYPAL , INC.,
                                      APPELLEE

                                          v.

               CONSUMER FINANCIAL PROTECTION BUREAU AND ROHIT
             CHOPRA, IN HIS OFFICIAL CAPACITY AS DIRECTOR, CONSUMER
                         FINANCIAL PROTECTION BUREAU ,
                                    APPELLANTS


                     Appeal from the United States District Court
                             for the District of Columbia
                                 (No. 1:19-cv-03700)



                Christopher Deal, Senior Counsel, Consumer Financial
            Protection Bureau, argued the cause for appellants. With him
            on the briefs were Kristin Bateman, Acting Assistant General
            Counsel, and Julia Szybala, Senior Counsel.

                Kannon K. Shanmugam argued the cause for appellee.
            With him on the brief were Kelly P. Dunbar, William T. Marks,
            and Brian M. Lipshutz.

                Before: SRINIVASAN, Chief Judge, PILLARD and RAO,
            Circuit Judges.
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                Opinion for the Court filed by Circuit Judge RAO.

                 RAO, Circuit Judge: The Bureau of Consumer Financial
            Protection (“the CFPB”) promulgated the Prepaid Rule, which
            regulates digital wallets and other prepaid accounts. As
            relevant here, the Rule requires financial institutions to make
            certain disclosures by using model language or other
            “substantially similar” wording. Challenging the Rule on
            statutory, administrative, and constitutional grounds, PayPal
            sued the CFPB. The district court reached only PayPal’s
            statutory claims, vacating part of the Rule because it mandated
            a “model clause” in violation of the Electronic Fund Transfer
            Act (“EFTA”).

                 In this case, PayPal and the CFPB proceed on the
            assumption that EFTA prohibits mandatory model clauses and
            so we consider only whether the Prepaid Rule mandates such a
            clause. Answering that narrow question, we conclude EFTA’s
            reference to “model clause” means specific, copiable
            language—not content and formatting. Because the Prepaid
            Rule does not require PayPal to use specific language, it does
            not mandate a “model clause.” We therefore reverse the district
            court and remand for further consideration of PayPal’s claims.

                                           I.

                                          A.

                 Recognizing the “potential for substantial benefits” from
            electronic systems for transferring money, Congress enacted
            EFTA to clarify and define “the rights and liabilities of
            consumers, financial institutions, and intermediaries in
            electronic fund transfers.” Pub. L. No. 95-630, tit. XX, § 2001,
            92 Stat. 3641, 3728 (codified at 15 U.S.C. § 1693). EFTA
            requires financial institutions to disclose specific “terms and
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            conditions” of electronic fund transfers “at the time the
            consumer contracts for an electronic fund transfer service.” 15
            U.S.C. § 1693c(a); id. § 1693c(a)(1)–(10). Where applicable,
            such disclosures are mandatory and must be made using
            “readily understandable language.” Id. § 1693c(a).

                 As part of the Dodd-Frank Wall Street Reform and
            Consumer Protection Act (“Dodd-Frank”), Congress created
            the CFPB and transferred to it the authority to regulate
            disclosures under EFTA. Consumer Financial Protection Act
            of 2010, Pub. L. No. 111-203, tit. X, §§ 1002(5), (15), 1011(a),
            1032(a), 1084, 124 Stat. 1955, 1956, 1957–58, 1964, 2006–07,
            2081–82. In addition, Dodd-Frank permits the CFPB to
            prescribe rules to ensure the terms of consumer financial
            products and services are “fully, accurately, and effectively
            disclosed to consumers.” 12 U.S.C. § 5532(a).

                Both EFTA and Dodd-Frank provide financial institutions
            with a safe harbor from liability in certain circumstances.
            EFTA obligates the CFPB to “issue model clauses” using
            “readily understandable language” to “facilitate compliance
            with the disclosure requirements.” 15 U.S.C. § 1693b(b).
            These model clauses can shield an institution from civil and
            criminal liability for “any failure to make [a] disclosure in [the]
            proper form.” Id. § 1693m(d)(2). Similarly, under Dodd-Frank
            the CFPB may issue “model form[s]” that can provide a safe
            harbor for compliance with disclosure requirements. 12 U.S.C.
            § 5532(b)(1), (d). An institution’s use of model clauses and
            forms is “optional.” 15 U.S.C. § 1693b(b) (model clauses); 12
            U.S.C. § 5532(b)(1) (model forms).

                                            B.

                The CFPB promulgated a regulation addressing consumer
            protections in “prepaid accounts.” Prepaid Accounts Under the
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            Electronic Fund Transfer Act (Regulation E) and the Truth In
            Lending Act (Regulation Z) (“Prepaid Rule”), 81 Fed. Reg.
            83,934, 83,934 (Nov. 22, 2016) (codified at 12 C.F.R. parts
            1005, 1026). As relevant here, prepaid accounts allow
            consumers to store money in a digital wallet that enables
            financial transactions online or person-to-person. See generally
            Prepaid Rule, 81 Fed. Reg. at 83,934–43; see also 12 C.F.R.
            § 1005.2(b)(3)(i)(A)–(D) (defining “prepaid account”).

                 The Prepaid Rule requires account providers to disclose
            certain information before a consumer acquires an account and
            begins transacting. These disclosures come in two forms: a
            “long form disclosure,” which includes all fees that could be
            imposed in connection with a prepaid account; and a “short
            form disclosure,” which includes only a subset of that
            information. 12 C.F.R. § 1005.18(b)(2), (4).

                 PayPal’s challenge concerns only the short form
            disclosures, which must include a prepaid account’s “most
            important fees.” Prepaid Rule, 81 Fed. Reg. at 83,934.
            Providers must disclose these “static fees,” which apply to “all
            prepaid account programs, even if such fees are $0 or if they
            relate to features not offered by a particular program.” Id.;
            accord 12 C.F.R. pt. 1005, supp. I, cmt. 18(b)(2)-1.1 Static fees
            include the periodic fee charged for holding the account,
            transaction fees, ATM withdrawal fees, the fee for reloading
            cash into the account, ATM balance inquiry fees, customer

            1
             The CFPB’s “official interpretation” of the Prepaid Rule says static
            fees must be listed regardless of applicability. See 12 C.F.R. pt. 1005,
            supp. I, cmt. 18(b)(2)-1. The parties do not dispute that all static fees
            must be listed under the Rule, so we do not address PayPal’s
            argument that the CFPB’s interpretation is inconsistent with the
            regulation.
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            service fees, and fees for inactivity. 12 C.F.R.
            § 1005.18(b)(2)(i)–(ix). If a fee on the short form may
            fluctuate, the Rule requires the highest amount to be listed with
            a symbol, such as an asterisk, linking to a statement explaining
            that a lower fee could apply depending on how the product is
            used. Id. § 1005.18(b)(3)(i).

                 The general structure of the disclosure requirements is the
            same. For each static fee, the Prepaid Rule suggests a specific
            word or phrase to describe the fee and directs providers to use
            that language or something “substantially similar.” For
            example, a “Per purchase fee” must be disclosed “using the
            term ‘Per purchase’ or a substantially similar term.”
            Id. § 1005.18(b)(2)(ii). An “Inactivity fee” must be disclosed
            “using the term ‘Inactivity’ or a substantially similar term.”
            Id. § 1005.18(b)(2)(vii).

                 The Prepaid Rule also imposes formatting requirements.
            These include how the disclosures must be structured, where
            each fee must appear in relation to the others, and the font size
            and emphasis given to each fee. See, e.g.,
            id. § 1005.18(b)(6)(iii)(A), (7)(i)(A), (7)(ii)(B)(1)–(3). The
            Rule illustrates how the formatting requirements could be
            implemented. Static fees are listed above the bolded line, and
            additional fees are listed below it.
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            12 C.F.R. pt. 1005, app. A-10(d).

                                           C.

                PayPal is one of the largest providers of digital wallets.
            PayPal’s digital wallets allow users to store funds for later use,
            a capability that sweeps the wallets into the ambit of the
            Prepaid Rule. PayPal sued the CFPB, challenging the Rule
            under the Administrative Procedure Act (“APA”) and the
            Constitution. PayPal first alleged the Prepaid Rule exceeded
            the CFPB’s statutory authority because the agency effectively
            mandated the adoption of a model clause in contravention of
            EFTA, which authorizes only “optional” clauses. PayPal also
            argued the Prepaid Rule was arbitrary and capricious as applied
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            to its service, because unlike other financial products, PayPal
            does not generally charge fees for using its financial products
            and only a small percentage of digital wallet transactions use
            stored funds. The Prepaid Rule therefore failed to account for
            the differences between PayPal and other prepaid account
            providers, whose services are closer substitutes for traditional
            checking accounts. Moreover, by requiring PayPal to list even
            irrelevant static fees, as well as the highest value that those fees
            could reach, the Rule “risk[ed] consumer confusion and
            impose[d] substantial cost without a commensurate consumer
            benefit.” PayPal also argued that the Rule’s cost-benefit
            analysis was arbitrary and capricious and that the Rule violated
            PayPal’s First Amendment rights.

                 The district court granted summary judgment for PayPal,
            holding the Prepaid Rule’s short form disclosure requirements
            exceeded the CFPB’s statutory authority under EFTA. 2
            PayPal, Inc. v. CFPB, 512 F. Supp. 3d. 1, 9 (D.D.C. 2020). The
            court explained that while EFTA requires the disclosure of
            certain “‘terms and conditions of electronic fund
            transfers,’ … it does not require that providers adhere to a
            specific form for these disclosures.” Id. at 7 (quoting 15 U.S.C.
            § 1693c(a)(4)). Instead, the CFPB can only “‘issue model
            clauses for optional use by financial institutions’” because “the
            plain text [of EFTA] does not permit the Bureau to issue
            mandatory clauses.” Id. (quoting 15 U.S.C. § 1693b(b)). The
            court considered whether the Prepaid Rule’s short form
            disclosure requirements “exceed[] the Bureau’s statutory
            authority by effectively creating mandatory disclosure

            2
              The district court also concluded the Prepaid Rule exceeded the
            CFPB’s authority under the Truth In Lending Act. PayPal, Inc. v.
            CFPB, 512 F. Supp. 3d. 1, 12 (D.D.C. 2020). The CFPB does not
            appeal that holding.
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            clauses.” Id. at 9. “Undoubtedly so!” the court exclaimed,
            finding the Rule’s requirements mandatory because they
            “provide[] the specific form, structure, and contents of
            disclosures that providers must use.” Id. The court emphasized
            the CFPB lacked authority under either EFTA or Dodd-Frank
            to issue mandatory model clauses. The court vacated the
            Prepaid Rule “to the extent that the short-form disclosure
            requirement provides [for] mandatory disclosure” and declined
            to reach the remainder of PayPal’s claims. Id. at 12. The CFPB
            appealed.

                                            II.

                 The legal question presented on appeal is a narrow one.
            The CFPB does not dispute, for the purposes of this case, that
            it lacks the statutory authority to issue mandatory model
            clauses. Oral Arg. Tr. 9:3–10. Rather, the CFPB maintains the
            Prepaid Rule does not in fact impose mandatory model clauses.
            In response, PayPal argues the Rule effectively imposes
            mandatory model clauses for which the CFPB has no authority
            under either EFTA or Dodd-Frank.

                 In light of the parties’ arguments and the district court’s
            decision, we begin by considering whether the Prepaid Rule
            imposes mandatory model clauses. We first consider the text
            and structure of EFTA, which establishes that the term “model
            clause” means specific, copiable language—not content or
            formatting requirements. Applying this definition, we conclude
            the Prepaid Rule does not impose mandatory model clauses.3


            3
              In its briefing before us, PayPal argues only that the CFPB lacks
            statutory authority to impose formatting and content requirements
            because these requirements constitute mandatory model clauses.
            This opinion therefore does not address the district court’s
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                                           A.

                 “Model clause” is not defined in EFTA, so we look to the
            meaning of the term in its statutory context. See Robinson v.
            Shell Oil Co., 519 U.S. 337, 341 (1997). In EFTA, “model
            clause” has a particularized legal meaning. Model clauses must
            be designed “to facilitate compliance with the disclosure
            requirements of section 1693c” and “to aid consumers in
            understanding the rights and responsibilities of participants in
            electronic fund transfers.” 15 U.S.C. § 1693b(b). The model
            clauses serve important legal functions—to ensure financial
            institutions are complying with their statutory disclosure
            requirements and to help protect the legal rights of consumers
            who make electronic fund transfers. In addition, a model clause
            provides a safe harbor from liability for financial institutions.
            Id. § 1693m(d)(2). Within EFTA, a “model clause” serves to
            disclose and protect legal rights and therefore the term has a
            distinct legal meaning.

                 In legal parlance, “model clause” has a particular meaning.
            A “model” legal instrument usually refers to text that is specific
            enough either to be adopted in full or adapted as needed. For
            example, the “Model Rules of Professional Conduct” are a
            uniform set of “ethical guidelines for lawyers” that can be
            “adopted as law, sometimes with modifications.” Model Rules
            of Professional Conduct, BLACK’ S LAW D ICTIONARY (11th ed.
            2019). The “Model Penal Code” is “[a] criminal code drafted
            and proposed by the American Law Institute” that is “used as
            the basis for criminal-law revision by many states.” Model
            Penal Code, BLACK’S LAW DICTIONARY (11th ed. 2019). And
            a “model act” is a bill that is “proposed as guideline legislation
            for the states to borrow from or adapt to suit their individual

            conclusion that the CFPB lacks statutory authority to impose
            mandatory clauses. See PayPal, 512 F. Supp. 3d at 7–9.
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             needs.” Model Act, BLACK’ S LAW D ICTIONARY (11th ed. 2019).
             Model legal documents refer to specific, copiable language that
             lawyers, legislators, and contracting parties can adopt in full or
             adapt as needed.

                  When Congress used the phrase “model clause” in the
             context of EFTA’s legal liabilities, obligations, and
             protections, it adopted the legal understanding of the term. See
             ANTONIN SCALIA & BRYAN A. GARNER, READING LAW 73
             (2012) (“[W]hen the law is the subject, ordinary legal meaning
             is to be expected, which often differs from common
             meaning.”). EFTA provides that financial institutions must
             disclose “terms and conditions … in readily understandable
             language.” 15 U.S.C. § 1693c(a). Mirroring this requirement,
             the CFPB must “issue model clauses … by utilizing readily
             understandable      language.”      Id. § 1693b(b).     Financial
             institutions are protected against liability if they “utilize[] an
             appropriate model clause.” Id. § 1693m(d)(2). Read together,
             these provisions demonstrate that a “model clause” is a
             particular set of words, namely “readily understandable
             language,” that prepaid account providers can adopt to satisfy
             their disclosure obligations and to benefit from the Act’s safe-
             harbor provision.4




             4
               Citing City of Arlington v. FCC, 569 U.S. 290 (2013), the CFPB
             maintains we should defer to its “interpretation of the scope of its
             rulemaking authority” because “Congress has not directly spoken to
             the precise question [of] whether the Bureau may regulate the content
             and formatting of disclosures.” We reject that invitation. The
             meaning of “model clause” is clear from the statutory text and
             context, and “deference does not apply where the statute is clear.”
             Johnson v. Guzman Chavez, 141 S. Ct. 2271, 2291 n.9 (2021).
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                                           B.

                 Assuming the CFPB lacks authority to impose mandatory
             model clauses and applying the above understanding of “model
             clause,” we hold the Prepaid Rule did not mandate model
             clauses.

                  The Prepaid Rule requires financial providers to disclose
             certain fees by using a suggested phrase “or a substantially
             similar term.” For example, providers “shall provide a
             disclosure” for a “[c]ash reload fee … using the term ‘Cash
             reload’ or a substantially similar term.” 12 C.F.R.
             § 1005.18(b)(2)(iv). They must also disclose a “periodic
             fee … using the term ‘Monthly fee,’ ‘Annual fee,’ or a
             substantially similar term.” Id. § 1005.18(b)(2)(i). In each
             instance, the Rule suggests the use of a particular word or
             phrase, but also provides an option to use terms that are
             “substantially similar.” The CFPB interprets the Prepaid Rule
             to require the disclosure of certain enumerated fees. See 12
             C.F.R. pt. 1005, supp. I, cmt. 18(b)(2)-1. But the CFPB has not
             mandated that financial providers use specific, copiable
             language to describe those fees. Rather, providers can choose
             to use the CFPB’s model clauses or they can use other language
             that is “substantially similar.” Because the Prepaid Rule does
             not mandate the use of specific language, the CFPB has not
             mandated a “model clause” in contravention of EFTA.

                                           C.

                  PayPal maintains the Prepaid Rule mandates a “model
             clause,” but its arguments fail to account for EFTA’s text and
             structure. First, PayPal contends the Rule’s allowance for
             “substantially similar language” unduly narrows the field of
             usable language and effectively mandates a model clause. We
             recognize that, as a practical matter, the range of permissible
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             wording available to satisfy a short form disclosure
             requirement may be quite limited. There are, after all, only so
             many ways to describe the fee charged for account inactivity or
             the frequency with which a fee is charged. The limited range of
             permissible wording, however, stems not from the model
             clauses, but from the legally required disclosures. EFTA
             requires financial providers to make certain disclosures of fees
             and terms, disclosures that are further specified in the Rule. As
             PayPal concedes, “the Bureau can require financial institutions
             to disclose certain information.” The specific statutory and
             regulatory disclosure requirements may at times constrain the
             range of disclosure language, but that does not convert optional
             model clauses into mandatory ones.

                  Second, although PayPal does not offer a clear definition
             of “model clause,” it assumes that model clauses include some
             combination of specific wording, content, and formatting
             requirements. PayPal also relies on the district court’s
             conclusion that the CFPB’s model clauses are mandatory
             because they “provide[] the specific form, structure, and
             contents of disclosures that providers must use.” PayPal, 512
             F. Supp. 3d at 9. Because the Prepaid Rule imposes certain top-
             line requirements, such as particular content and formatting
             obligations, PayPal maintains the Rule impermissibly
             mandates a model clause.

                  In EFTA, however, “model clause” means specific
             copiable language. PayPal’s interpretation of model clause to
             include content and formatting requirements cannot be
             reconciled with the statute. With respect to the content of
             model clauses, specific information “shall be disclosed.” 15
             U.S.C. § 1693c(a). And separately, the CFPB must issue
             “model clauses” suggesting language providers can use to
             satisfy the disclosure requirements. Id. § 1693b(b). The model
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             clauses must be designed to “facilitate compliance” with
             “disclosure requirements.” Id. EFTA makes clear that model
             clauses and disclosure requirements are discrete terms.
             Disclosure requirements regulate content, while model clauses
             suggest the language that may be used for the disclosure. The
             fact the Prepaid Rule requires the disclosure of certain content
             does not, standing alone, mandate a model clause.

                  Formatting is similarly not part of a “model clause.” As we
             have already explained, a model clause, in legal parlance, does
             not ordinarily include formatting requirements. For example, a
             judge could copy verbatim the words of a model jury
             instruction, but this ordinarily would not include any particular
             typeface, indentation, or structure. Specific, copiable language
             is the essential element of a model clause. The Prepaid Rule
             mandates certain formatting, but such requirements fall outside
             the ambit of a “model clause.”

                  Other statutory provisions underscore the limits of a model
             clause. Congress frequently provides for formatting
             requirements as part of the definition of a “model form.” For
             example, in the private education loan context, the CFPB must
             develop “model forms” to aid regulatory compliance, and those
             forms must, among other things, have “a clear format and
             design” and “use an easily readable type font.”
             Id. § 1638(e)(5). Dodd-Frank defines “model form” to include
             “a clear format and design, such as an easily readable type font”
             and “plain language comprehensible to consumers.” 12 U.S.C.
             § 5532(b)(2). In some instances, Congress directed the CFPB
             to issue both model clauses and model forms. See
             id. § 4308(b)(1) (providing in the Truth in Savings Act that the
             CFPB “shall publish model forms and clauses”). By contrast,
             in EFTA Congress simply required the CFPB to issue “model
             clauses” and made no reference to “model form[s].”
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                  PayPal maintains the Prepaid Rule mandates model
             clauses because it “dictates the organization of the short-form
             disclosure clauses in painstaking detail, down to the pixel.” In
             Dodd-Frank and other statutes, such formatting requirements
             are often included as part of the definition of a “model form,”
             suggesting that they are not part of a typical model clause.
             Because PayPal’s reading would collapse the distinction
             between model clauses and forms, we decline to adopt it.

                                       *    *   *

                  Addressing the narrow issue before us, we conclude the
             CFPB’s Prepaid Rule does not mandate a “model clause” in
             contravention of EFTA. That the Rule’s content and formatting
             requirements do not fall within the meaning of “model clause”
             does not necessarily mean the CFPB can impose whatever
             content and formatting requirements it chooses. On remand, the
             district court may consider PayPal’s other challenges to the
             Rule, including the APA and constitutional claims, which
             remain to be addressed.

                  For the foregoing reasons, we reverse the judgment of the
             district court and remand for further proceedings consistent
             with this opinion.

                                                                So ordered.
